               Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 1 of 17




                                                                                                                         TRL / ALL
                                                                                                     Transmittal Number: 16639620
Notice of Service of Process                                                                            Date Processed: 05/15/2017

Primary Contact:           Service Process Team 3-11-309
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Joshua Schonauer
                                               Kevin Jones
                                               Cassandra Struble

Entity:                                       Depositors Insurance Company
                                              Entity ID Number 0149484
Entity Served:                                Depositors Insurance Company
Title of Action:                              Longwood Club Management, LLC vs. Depositors Insurance Company, Allied
                                              Property and Casualty Insurance Company, Nationwide Insurance Sales
                                              Company, LLC
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Harris County District Court, Texas
Case/Reference No:                            2017-23347
Jurisdiction Served:                          Iowa
Date Served on CSC:                           05/15/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Meyer, Knight & Williams, L.L.P.
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscglobal.com
              Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 2 of 17

Secretary of State
Service of Process
P.O. Box 12079
Austin, Texas 78711-2079




                                7190 1046 4 701 0075 4279
Return Receipt (Electronic)




2017279054-1

DEPOSITORS INSURANCE COMPANY
505 5TH ST STE 729
DES MOINES, lA 50309




                                              CUT I FOLD HERE
      Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 3 of 17

                                     The State of Texas

Service of Process                                                                    Phone: 512-463-5560
P.O. Box 12079                                                                          Fax: 512-463-0873
Austin, Texas 78711-2079                                                               TTY (800) 735-2989
                                                                                        www.sos.state. tx. us


                                         Secretary of State

May 10,2017

DEPOSITORS INSURANCE COMPANY
                                                                                2017-279054-1
505 5TH ST STE 729
                                                                            Include reference number in
DES MOINES, IA 50309                                                             all correspondence



RE: LONGWOOD CLUB MANAGEMENT L L C VS. DEPOSITORS INSURANCE
    COMPANY
    334th Judicial District Court Of Harris County, Texas
    Cause No: 201723347

Dear Sir/Madam,

Pursuant to the Laws of Texas, we forward herewith by CERTIFIED MAIL, return receipt
requested, a copy of process received by the Secretary of State of the State of Texas on May
8, 2017.

CERTIFIED MAIL #71901046470100754279

Refer correspondence to:

Nathan A. Steadman
Meyer, Knight & Wiiliams, L.L.P.
8100 Washington Avenue, Suite 1000
Houston, TX 77007

Sincerely,


~~
Venita Okpegbue
Team Leader, Service of Process
GF/mo
Enclosure
                   Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 4 of 17

             . '
                                                CAUSE NO.     201723347


                                                RECEIPT NO.                        0.00             CIV
                                                         **********                           TR # 73361343
PLAINTIFF: LONGWOOD CLUB MANAGEMENT L L C                                      In The   334th
   vs.                                                                         Judicial District Court
DEFENDANT: DEPOSITORS INSURANCE COMPANY                                        of Harris County, Texas
                                                                               334TH DISTRICT COURT
                                                                               Houston, TX
                                      CITATION (SECRETARY OF STATE NON-RESIDENT)
THE STATE OF TEXAS
County of Harris                                                                                       RECEIVED    ·
                                                                                                  SECRETARY OF STATE

                                                                                                     MAY- 8 2017
TO: DEPOSITORS INSURANCE COMPANY BY SERVING THE TEXAS SECRETARY OF THE
    STATE AT PO BOX 12079 AUSTIN TEXAS 78711-2079
    FORWARD TO: DEFENDANTS REGISTERED AGENT CORPORATION SERVICE COMPANY
                                                                                                  Service of Process
       505        5TH ST STE 729   DES MOINES    IA   50309
       Attached is a copy of PLAINTIFF'S ORIGINAL PETITION


This instrument was filed on the 5th day of April, 2017, in the above cited cause number
and court. The instrument attached describes the claim against you.

     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.

TO OFFICER SERVING:
      This citation was issued on lOth day of April, 2017, under my hand and
seal of said Court.




Issued at request of:                                               CHRIS DANIEL, District Clerk
STEADMAN, NATHAN A.                                                 Harris County, Texas
8100 WASHINGTON AVE., SUITE 1000                                    201 Caroline, Houston, Texas 77002
HOUSTON, TX 77007                                                   (P.O. Box 4651, Houston, Texas 77210)
Tel: (713) 868-2222
Bar No.:  19089450                                              Gene·rated 'By: OVALLE, MONICA . K7U/ /10653223

STATE OF
                                        OFFICER/AUTHORIZED PERSON RETURN
County of

PERSONALLY APPEARED before me, the undeisigned authority,
who being by me duly sworn, deposes and says that in the County of
State of                       he delivered to the within named defendants in person at the
following times and places to wit:

                   NAME                         DATE               TIME                   PLACE
                                      MONTH     DAY I YEAR      HOUR I MIN

                                                                                                     279054
a true copy of this notice, with a copy of:

accompanying same; and further, that he is an adult and is in no manner interested in this suit
and is the person competent to make oath of the fact.

                                                                             Affiant/Deputy

On this day,                                            , known to me to be the person whose
signature appears on the foregoing return, personally appeared. After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner re~ited on the
return.

SWORN TO AND SUBSCRIBED BEFORE ME, on this                     day of



                                                                     Notary Public



N. INT. SECN. P                                   *73361343*
                                                                                                                    ..
   Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 5 of 17                                                 .,
                                                                                                      4/5/2017 3:59:45 PM
                                                                                Chris Daniel - District Clerk Harris County
                                                                                                   Envelope No. 16293203
                          2017-23347 I Court: 334                                                       By: Jelilat Adesiyan
                                                                                               Filed: 4/5/2017 3:59:45 PM

                                   NO. _______________

LONGWOOD CLUB MANAGEMENT      §                              IN THE DISTRICT COURT OF
LLC.                          §
                              §
vs.                           §                              HARRIS COUNTY, TEXAS
                              §
DEPOSITORS INSURANCE COMPANY, §
ALLIED PROPERTY AND CASUALTY §
INSURANCE COMPANY,            §
NATIONWIDE INSURANCE SALES    §
COMPANY, LLC                  §                              -----
                                                                       JUDICIAL DISTRICT

                            PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff, Longwood Club Management, LLC. ("Longwood" or "Plaintiff') files this,

Plaintiff's Original Petition asserting claims against Defendants, Depositors Insurance Company,

Allied Property and Casualty Insurance Company, and Nationwide Insurance Sales Company

(collectively "Defendants"), and would respectfully show the Court as follows:

                                               I.
                                            PARTIES

       I.      Plaintiff, Longwood Club Management, LLC is a Texas Limited Liability Corporation

with its principle place of business located in Harris County Texas.

       2.      Defendant, Depositors Insurance Company ("Depositors") is a foreign for profit entity

incorporated in the State oflowa, who does business throughout the United States including Harris

County, TX.    Defendant can be served with process though the Texas Secretary of State to

Defendant's registered agent, Corporation Service Company; at 505 5'h St., Ste. 729, Des Moines,

IA. 50309.

       3.      Defendant, Allied Property and Casualty Insurance Company ("Allied") is a foreign

for profit entity incorporated under the laws of the state oflowa, who does business throughout the
   Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 6 of 17




United States including Harris County, TX. Defendant can be served with process through tpe Texas

Secretary of State to Defendant's registered agent, Corporation Service Company, at 505 5'" St., Ste.

729, Des Moines, IA.50309.

       4.      Defendant, Nationwide Insurance Sales Company, LLC is a foreign for profit entity

incorporated under the laws of the State of Ohio, who does business throughout the United States

including Harris County, TX. Defendant can be served with process though the its Texas registered

agent, Corporation Service Company d/b/a C-S-C-Lawyers Incorporating Service Company, at 211

E. 7'11 Street, Suite 620, Austin, TX 78701.


                                            II.
                                 JURISDICTION AND VENUE

       5.      Pursuant to Tex. Civ. Prac. & Rem. Code§ 15.002( 1),jurisdiction is proper in Harris

County, Texas because all or substantially all of the events giving rise to Plaintiffs claims occurred

in Harris County, Texas. Venue is proper in Harris County, Texas pursuant to Tex. Civ. Prac. &
                                                                                   '
Rem. Code § 17.042.

                                       III.
                         DISCOVERY AND RULE 47 STATEMENT

       6.      Discovery should be conducted under Level2 of the Texas Rules of Civil Procedure

190.3. Defendants/Counter-Plaintiffs seek damages within the jurisdictional limits of the Court for

monetary relief over $1,000,000 including damages of any kind, penalties, costs, expenses, pre-

judgment interest, and attorney fees.




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   Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 7 of 17




                                                 IV.
                                   FACTUAL BACKGROUND

       7.      Plaintiff is the owner of a 27-hole golf course facility located in Cypress, Texas

named Longwood Golf Club (the "Club"). The Club. also contains four buildings on the property

which are used for the assistance and support of club operation and include a club house, pavilion,

golf cart storage building, and a golf cart maintenance building.       The golf course includes

approximately 80 to 90 sand trap bunkers that hold approximately six inches of sand and contain a

4 inch perforated drainage pipe. The Club was constructed in 1995 and was purchased by Plaintiffs

in May of2014. After Plaintiff purchased the Club, it was operated as a successful business with

average monthly net profits of approximately $66,000.00.

       8.      On or about May 12, 2015, Plaintiff entered into a contract ("Policy" or "Contract")

with Defendants in order to obtain insurance coverage for covered damages that may occur to the

Club. See Insurance Policy in effect from May 12, 2015 thru May 12, 2016 attached hereto as

Exhibit A; Insurance Policy in effect from May 12, 2016 thru May 12, 2017 attached hereto as

Exhibit B. The Policy provided that Plaintiff would be insured from all covered losses by Defendant

as long as that Plaintifftimelypaid all premiums. Plaintiff paid plan premiums timely and the Policy

was active during the time periods at issue in this suit.

       9.      Defendants inspected the buildings located in the Club prior to entering into the

contract. Although the facility was constructed in 1995, Defendants did not require Plaintiffs to

replace the roofs of the buildings as a condition of obtaining insurance coverage. Defendants also

failed to exclude damage caused to the roof caused by the age of the roof.

        I 0.   In March thru May of20 16, the Houston area experienced several storms that caused



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   Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 8 of 17




as much as 19 inches of rain and hail to fall during a single storm. As a result of these storms,

several buildings and various portions of the course suffered significant damage. Hail caused

damage to numerous portions of the buildings including the roof of the club house, maintenance

bam, and pavilion. High winds and excessive rain also caused damage to the roofs of each building

including the tearing/separating of roof shingles and lifting of shingles that allowed for water

intrusion into the club house, pro-shop and restaurant causing significant interior water damage. Hail

also caused damage to the sand trap bunkers and roof. When hail impacted the faces ofeach bunker,

each strike allowed an increasing amount soil to move into the bunkers. and clqg the drains. These

clogs in connection with the large amount of rain that accompanied the storms, caused further

damage to the bunkers and other areas of the golf course.

        11.    As a result of the damage to Plaintiffs facilities, 9 holes of the golf course had to be

closed for repairs which cost Plaintiff nearly 1.1 million dollars in lost revenue. Plaintiff filed a

claim with Defendants in April 2016 and requested reimbursement for the damages it incurred as a

result ofthe hail, high winds, and excessive rain from the storms in March and April2016. In a

letter dated May 2, 2016, Defendants denied Plaintiffs claim and argued that the damage to the

buildings were not covered losses under the Policy. Plaintiff then amended its claim to include

damages caused to the bunkers from hail which occurred in May 2016. After the property was

reinspected, Defendants again denied coverage for any damages suffered by Plaintiff. In their letter

dated October 24, 2016, Defendants again denied Plaintiffs claim stating that damage caused to the

buildings and bunkers were not the result ofhail, high winds, and excessive rain but due to flooding,

poor maintenance, and deterioration of aging building materials. See Denial of coverage dated

October 24, 2016 attached hereto as Exhibit C.


                                                  4
     Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 9 of 17




          12.    The damages caused to the buildings and the golf course are covered losses under the

Policy with Defendants; The damage to Plaintiffs property occurred only after the severe storms

in March, April and May of 2016. Prior to the storms, there were no instances of water damage in

the buildings nor damage to the bunkers on the golf course. No reasonable grounds exists for the

denial of Plaintiffs claims.

                                                   V.
                                       CAUSES OF ACTION

A.        Breach of Contract

          13.    The foregoing paragraphs are incorporated herein for all purposes as if fully set forth

herein.

          14.    Plaintiff entered into a contract with Defendant for the purchase of an Insurance

Policy on or about May 12, 2015. The Policy provides that all c~vered losses suffered by Plaintiff

would be reimbursed by Defendants. Specifically the Policy provides that Defendants will pay

for the damage caused to the interior of a building or structure caused by rain if the building or

structure first sustains covered damages to the roof through which the rain enters said building.

See Exhibit A.

          15.    Plaintiff suffered injury to its facilities after several severe storm events that

occurred in the Houston area in March thru May of20 16. The storms that occurred over the three

month period, brought severe winds, hail and rain to the Houston area, including to Cypress,

Texas. Plaintiff suffered damage to Club facilities and numerous bunkers on the course due to the

severe winds, hail and rain. All of the damages suffered by Plaintiffs were caused by the severe

storms that occurred in April thru May of 2016.



                                                    5
     Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 10 of 17




          16.     The contract clearly provides that the Defendant will reimburse Plaintiff for any

covered loss during the policy period. The damages caused to the Club facilities are covered under

the terms of the Contract. Plaintiff filed a claim on its Policy for damages that occurred as a result

of the storm. Defendants unjustifiably denied Plaintiff's claim and refused to reimburse Plaintiff

for its covered losses. Defendants' actions clearly violate their contract with Plaintiff. Plaintiff

has continued to suffer damages as a result of Defendants' breach of the contract. As a result of

Defendants breach of the Contract, Plaintiff incurred and continues to incur significant damages.

B.        Fraud

          17.     The foregoing paragraphs are incorporated herein for all purposes as iffully set forth

herein.

          18.     Defendants' conduct rises to the level of Fraud. The contract clearly provides that

it will reimburse for all losses suffered by Plaintiff during the policy period absent a specific

.exclusion. Defendants denied the claim based on the erroneous assertion that the damage was caused

by the age of the roof and thus is not covered under the contract. The contract contains no exclusion

related to the age of the roof, nor did it require Plaintiff to replace said roof before damages would

be covered. Plaintiff relied on the representations of coverage listed in the contract to its detriment.

Defendants conduct was a producing and proximate cause of damages incurred by Plain tiffin excess

of the minimum jurisdictional limits of this Court.

C.        Violations of the Texas Deceptive Trade Practices Act

          19.     The foregoing paragraphs are incorporated herein for all purposes as if fully set forth

herein.

          20.     The conduct of Defendants as set out herein, violates the Texas Deceptive Trade


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     Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 11 of 17




Practices-Consumer Protection Act ("DTPA"}, Section 17.41, et. seq. ofthe Texas Business and

Commerce Code:

          21.   At all material times herein, Plaintiff was a "consumer" as defined by Section

17 .45(4) of the DTP A. As a consumer, the Plaintiff sought and/or acquired, by purchase, "services,"

as that term is defined in DTP A Section 17 .45(2), from Defendants.

          22.   Defendants, individually and through its agents, made various statements and

representations regarding the benefits that existed under the Policy. Specifically, Defendants' pol icy

language misrepresents Defendants' services and coverage. In addition, Defendants represented their

services and coverage to Plaintiff with the intent not to provide said services to Plaintiff as

represented. Defendants failed to disclose that they would not cover losses to the roof as the result

of its age. Accordingly, Defendants have made representations in violation of§ 17.46 (b) (5), (9),

(12), and (24) ofthe Texas Business and Commerce Code.

          23.   Defendants' conduct was a producing and proximate cause of economic damages

incurred by Plaintiff. Further, the above mentioned conduct by Defendants was relied upon by

Plaintiffto Plaintiffs detriment causing damages in excess of the minimum jurisdictional limits of

this Court.

D.        Violation of Article 541.060 of the Texas Insurance Code

          24.    The foregoing paragraphs are incorporated herein for all purposes as if fully set forth

herein.

          25.    Based l!POn the foregoing facts, Defendants acted in bad faith to deprive Plaintiff

of proper insurance coverage.        Under Article 541.060 (a)(l) of the Texas Insurance Code,

misrepresenting to a claimant a material fact or policy provision relating to coverage at issue


                                                    7
  Case 4:17-cv-01694 Document 1-1 Filed in TXSD on 06/06/17 Page 12 of 17




constitutes an unfair method of competition and unfair and deceptive act or practice in the business

of insurance. As a consequence of Defendants' actions made in bad faith (claiming that the policy

did not cover damages caused by the failure of the roof) Plaintiffs have, and continue to suffer

significant damages.

       26.     Defendants also violated Article 541.060 (a)(2) of the Texas Insurance Code, by

not attempting to "effectuate a prompt, fair and equitable settlement" for a claim after the insurers

liability has become reasonably clear. The damages to Plaintiffs facilities were caused solely by

the excessive wind, hail and rain that occurred during the storms in March- May of2016. These

damages are covered losses under the Policy. Defendants failure to "effectuate a prompt, fair and

equitable settlement" for damages that are clearly covered under the Policy constitutes an unfair

and deceptive act or practice in the business of insurance.

       27.     Defendants' conduct was a producing and proximate cause of actual economic

damages incurred by Plaintiff. Plaintiffs damages as a result of Defendants' conduct are an

amount in excess of the minimum jurisdictional limits of this Court.

                                              VI.
                                            DAMAGES

       28.     Defendants have suffered actual damages of at least $1,712,711.87 ($625,985.87

in damages to the Club facilities and the course, $1,086,726.00 in lost profits, and unnecessary

insurance premiums). Plaintiff is also entitled to the recovery of attorney fees, statutory penalties

and interest, as authorized under Article 541.152 (a) ofthe Texas Insurance Code and Tex. Civ.

Prac. & Rem. Code§ 38.001.




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  Case 4:17-cv-01694
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                     Document 1-1 Filed in TXSD on 06/06/17 Page 13 of 17




       29.      Additional damages include tort damages for fraud, misrepresentation, and Insurance

Code violations.

        30.     The unlawful actions of Plaintiff were committed knowingly and or intentionally.

Therefore, Defendants are liable for exemplary damages. Plaintiff requests an amount of exemplary

damages that will serve to punish Defendants for their conduct and to make an example of

Defendants so that they and others like them will be deterred from committing similar acts and

omissions in the future.

        31.     Further, Defendants had actual awareness of the falsity, deception, or unfairness of

the acts or practices giving rise to Plaintiff's claim. Defendants acted with the intent that Plaintiff

act in detrimental reliance on the false, deceptive or unfair acts of Defendants. Because Defendants

acted intentionally and knowingly, Plaintiff is entitled to recover other damages under Section

17 .50(b )( 1) of the DTPA. Plaintiff seeks monetary damages from Defendants in an amount in excess

of the jurisdictional limits of this Court for violations of the DTPA.

        WHEREFORE, based on the facts, allegations and damages asserted herein, Plaintiff

Longwood Club Management, LLC., requests that Defendants, Depositors Insurance Company,

Allied Property and Casualty Insurance Company, and Nationwide Insurance Sales Company, LLC,

be cited and appear herein and that after a trial on the merits, Plaintiff have of and from Defendants

the damages plead herein and that it have such other relieve both general and specific, equitable and

legal, that it may show itself justly entitled.




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     Case 4:17-cv-01694
            ' .,
                        Document 1-1 Filed in TXSD on 06/06/17 Page 14 of 17
                                                                                                                                                              ...
..

                                                                                                                         Respectfully submitted,

                                                                                                                         MEYER, KNIGHT & WILLIAMS, L.L.P.

                                                                                                                            Is/ Nathan A. Steadman
                                                                                                                         Nathan A. Steadman
                                                                                                                         State Bar No. 1908945,0
                                                                                                                         nas(~mkwlaw .com
                                                                                                                         Christopher Stanley
                                                                                                                         State Bar No. 24091894
                                                                                                                         chris({Zl,mkwlaw .com
                                                                                                                         8100 Washington Avenue, Suite 1000
                                                                                                                         Houston, Texas 77007
                                                                                                                         Phone: (713) 868-2222
                                                                                                                         Fax: (713) 868-2262




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                                                                        STATE OF TEXAS
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(   ··Secretary of State

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      Service of Process                                                                                        o   &·               ZIP 78701
      P.O. Box 12079                                                                                  ~                            041L11253153
      Austin, Texas 78711-2079


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                                      7190 1046 4701 0075 4279
     Return Receipt (Electronic)




     2017279054-1

     DEPOSITORS INSURANCE COMPANY
     505 5TH ST STE 729
     DES MOINES, lA 50309

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